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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF OKLAHOMA


  UNITED STATES OF AMERICA,

                     Plaintiff,

  v.                                                 Case No. 11-CR-00159-CVE

  CLINT LAWRENCE,

                      Defendant.

                             Motion for Detention Hearing

        COMES NOW the United States of America, pursuant to 18 U.S.C.

  § 3143(a)(1), and hereby requests that the Court hold a hearing pending revocation or

  modification of probation or supervised release to determine whether any condition,

  or combination of conditions, as set forth in 18 U.S.C. § 3142(b) and (c), will

  reasonably assure the appearance of the Defendant as required and the safety of any

  other person and the community.

        Dated this 22ND day of May, 2025.

                                          Respectfully submitted,

                                          CLINTON J. JOHNSON
                                          UNITED STATES ATTORNEY


                                          /s/ Mandy Mackenzie
                                          MANDY MACKENZIE, WA Bar #55836
                                          Assistant United States Attorney
                                          110 West Seventh Street, Suite 300
                                          Tulsa, Oklahoma 74119
                                          (918) 382-2700
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                             CERTIFICATE OF SERVICE


         I hereby certify that on the 22ND day of May, 2025, I electronically transmitted
  the foregoing document to the Clerk of Court using the ECF System for filing and
  transmittal of a Notice of Electronic Filing to the following ECF recipient:

  Attorney for Defendant



                                          /s/ Mandy Mackenzie
                                          MANDY MACKENZIE




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